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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


 JOEY LEE NIX,
                                                           Case No.: 3:20-cv-00250-BJD-JBT
                 Plaintiff,

 v.

 CSX TRANSPORTATION, INC.

                 Defendant.

 __________________________________________/

 ANSWER AND AFFIRMATIVE DEFENSES OF CSX TRANSPORTATION, INC.

         Comes Now, CSX TRANSPORTATION, INC., by and through undersigned counsel,

 and Answers the Complaint as follows:

         1.      Admitted this action is brought under the FRSA, otherwise denied.

         2.      Admitted.

         3.      Admitted.

         4.      Denied as to the filing date. Admitted that 210 days have elapsed with no final

 decision and Plaintiff has a right to file this action.

         5.      Admitted Plaintiff was employed by Defendant, otherwise denied as phrased.

         6.      Admitted Defendant is a rail carrier engaged in interstate commerce, operating

 in 23 states including Georgia and maintains its corporate headquarters in Jacksonville, Duval

 County, Florida. Otherwise denied as phrased.

         7.      Admitted.
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           8.    Admitted Plaintiff was employed as an engineer, otherwise denied that Plaintiff

 properly inspected, monitored or operated locomotives at the operative time in the Complaint.

           9.    Denied as phrased.

           10.   Denied as phrased.

           11.   Denied.

           12.   Denied.

           13.   Denied.

           14.   Admitted Plaintiff reported for duty on January 22, 2019. Without knowledge

 as to Plaintiff’s observations and therefore denied. Admitted Plaintiff reported an oil leak and

 completed a daily inspection report. Without knowledge as to Plaintiff’s reports to the Federal

 Railroad Administration by telephone and therefore denied.

           15.   Defendant defers to the report of the FRA for the findings related to the

 inspection by the FRA, and otherwise denied as phrased.

           16.   Admitted Plaintiff was removed from service on January 23, 2019. All other

 allegations within this paragraph are denied.

           17.   Admitted that Plaintiff was charged with failing to place the control/fuel pump

 and engine run switches in the OFF position. Admitted that Plaintiff was provided a hearing

 on these charges and was assessed three days discipline after the hearing. In all other respects,

 denied.

           18.   Defendant repeats and incorporates by reference herein all of the foregoing

 paragraphs.
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        19.     This is a paraphrased statement of the law for which no response is necessary.

 To the extent necessary, Defendant defers to the language in 49 U.S.C. §20109(a)(1).

        20.      This is a paraphrased statement of the law for which no response is necessary.

 To the extent necessary, Defendant defers to the language in 49 U.S.C. §20109(b).

        21.     This is a paraphrased statement of the law for which no response is necessary.

 To the extent necessary, Defendant defers to the language in 49 U.S.C. §20109(a)(1). As a

 further response, in order for an employee to avail themselves of the right to refuse to work,

 the conditions as set forth in paragraph (2) of 49 USC §20109(b)(2) must be present.

        22.     Denied.

        23.     Denied.

        24.     Denied.

        25.     Denied.

        26.     Denied.

        Defendant denies the ad damnum clause of the Complaint and all specific requests for

 relief. Defendant further denies that Plaintiff is entitled to any of the claimed remedies

 contained within the clause.

                                    First Affirmative Defense

        Defendant acted reasonably at all times and in good faith and on the basis of legitimate,

 non-discriminatory and non-retaliatory reasons toward the Plaintiff, after reasonable

 investigation, and based upon its honest belief that Plaintiff did not engage in protected activity

 and that he violated Defendant’s rules. In addition, Plaintiff has not alleged circumstances
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 sufficient to raise the inference that his alleged protected conduct was a contributing factor in

 any adverse employment action.

                                    Second Affirmative Defense

           Even if Plaintiff is able to show that he engaged in protected conduct that contributed

 to some or all of the alleged adverse employment actions, which Defendant denies, Defendant

 can show that it would have taken any such adverse employment actions even absent any

 protected conduct.

                                     Third Affirmative Defense

           The Plaintiff is not entitled to recover punitive damages for the allegations made in his

 Complaint.

                                    Fourth Affirmative Defense

           The Plaintiff’s claim for punitive damages violates the Fifth, Eighth and Fourteenth

 Amendments of the United States Constitution. In addition, the Defendant cannot be held liable

 for punitive damages stemming from the alleged violations of its employees or managers to

 the extent those employees or managers acted contrary to the Defendant’s policies and

 procedures established to prohibit retaliation and to ensure compliance with all applicable laws

 and regulations. Alternatively, punitive damages are inappropriate under the facts of this

 action.

                                     Fifth Affirmative Defense

           Some of Plaintiff’s claims are barred by the FRSA’s election of remedies provision, 49

 U.S.C. § 20109(f), because Plaintiff elected to pursue a remedy under another provision of law

 for the same allegedly unlawful acts.
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                                    Sixth Affirmative Defense

        Plaintiff’s claims are barred, in whole or in part, to the extent that he failed to satisfy

 any administrative prerequisites, exhaust available administrative remedies, or follow

 appropriate administrative procedures.

                                 Seventh Affirmative Defense

        The Plaintiff’s claims for damages including lost wages and benefits are barred, in

 whole or in part, to the extent that they would represent double recovery by the Plaintiff.

                                  Eighth Affirmative Defense

        Plaintiff’s Complaint fails to state claims upon which relief can be granted.

                                    Ninth Affirmative Defense

        All or part of Plaintiff’s claims are barred, in whole or in part, because the Railway

 Labor Act requires deferral to a Public Law Board for interpretation of the controlling

 collective bargaining agreement.

                                  Tenth Affirmative Defense

        The Railway Labor Act, 45 U.S.C. §§ 151 et seq., precludes some of Plaintiff’s FRSA

 claims because they require interpretation of a collective bargaining agreement.

                                Eleventh Affirmative Defense

        Defendant asserts that the Plaintiff has failed to mitigate his damages, and to the extent

 that he has failed to mitigate his damages, he is barred from recovery herein.

                                 Twelfth Affirmative Defense

        Plaintiff’s alleged protected conduct was not a contributing factor to any alleged

 employment action.
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                                Thirteenth Affirmative Defense

        Plaintiff has not alleged, nor could Plaintiff allege under the facts of this case,

 intentional discrimination.

                               Fourteenth Affirmative Defense

        To the extent Plaintiff’s claims are, or later are determined to be, outside or beyond

 the scope of his OSHA Complaint, such claims are barred.

                                 Fifteenth Affirmative Defense

        Plaintiff comes to this action with unclean hands based in part upon his failure to

 perform his employment duties in inspection of the locomotives.

                                Sixteenth Affirmative Defense

        Plaintiff’s claim fails because he did not in good faith report a protected activity, nor

 was Plaintiff’s belief objectively or subjectively reasonable.



                                                Respectfully submitted,


                                                /s/C. Ryan Eslinger_______
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 20, 2020, I uploaded the foregoing to the Clerk of

 the United States District Court for filing via the CM/ECF system, and that a true and correct

 copy of the foregoing has been furnished via electronic service to all CM/ECF system

 participants.



                                              MILTON, LEACH, WHITMAN,
                                              D'ANDREA & ESLINGER, P.A.

                                              C. Ryan Eslinger; FL Bar No. 634859
                                              reslinger@miltonleach.com
